               Case 4:18-cv-06753-PJH Document 71 Filed 09/20/19 Page 1 of 1



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                     )
     In re RIPPLE LABS INC. LITIGATION                              4:18-cv-06753-PJH
                                                       )   Case No: ______________BBBB_
 4                                                     )
                                                       )   APPLICATION FOR
 5                                                     )   ADMISSION OF ATTORNEY
                                                       )   PRO HAC VICE
 6                                                     )   (CIVIL LOCAL RULE 11-3)
                                                       )
 7                                                     )
                                                       )
 8
         I,        Andrew J. Ceresney             , an active member in good standing of the bar of
 9        State of New York        , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Ripple Labs, Inc., XRP II, LLC, and Bradley Garlinghouse
                                                                       Kathleen
     in the above-entitled action. My local co-counsel in this case is ____     R. ____
                                                                           _______ Hartnett
                                                                                       _______________,
11   an attorney who is a member of the bar of this Court in good standing and who maintains an
12   office within the State of California.
       MY ADDRESS OF RECORD:                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      DEBEVOISE & PLIMPTON LLP, 919 Third                    BOIES SCHILLER FLEXNER LLP, 44
14    Avenue, New York, New York 10022                       Montgomery St., 41st Fl., San Francisco, CA 94104
       MY TELEPHONE # OF RECORD:                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (212) 909-6000                                         (415) 293-6800
       MY EMAIL ADDRESS OF RECORD:                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    aceresney@debevoise.com                                khartnett@bsfllp.com
           I am an active member in good standing of a United States Court or of the highest court of
17
     another State or the District of Columbia, as indicated above; my bar number is 2820918           .
18       A true and correct copy of a certificate of good standing or equivalent official document from
     said bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 09/17/2019                                                       /s/ Andrew J. Ceresney
22                                                                                 APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of                   Andrew J. Ceresney             is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
                                                                                                S DISTRICT
27   designated in the application will constitute notice to the party.                     TA
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28   Dated: September 20, 2019                                                                       IT IS S
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                                                              UNITED STATES DISTRICT/MAGISTRATE
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     PRO HAC VICE APPLICATION & ORDER                                                                                   October 2012
